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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
                                                                               THE ESTATE OF MANUEL MONSEGUR SANABRIA CONSTITUTED ALVARO EMMANUEL MONSEGUR
Wigberto Lugo Mender, Chapter 7 Trustee                                        FRANQUI AND MANUEL MONSEGUR ROCHE AND IVAN MONSEGUR ROCHE AND MARITZA
                                                                               MONSEGUR ROCHE AND MANUEL A. MONSEGUR GONZALEZ AS POTENTIAL HEIRS; ESSO
                                                                               STANDARD OIL COMPANY; JOHN DOE AS PARTY HOLDING AN INTEREST IN E.L. EQUIPMENT
                                                                               LEASING, INC.


ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Alexis A. Betancourt Vincenty
Lugo Mender Group, LLC
100 Carr 165 Suite 501
Guaynabo PR 00968-8052 Tel. (787) 707-0404
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
          Trustee/Bankruptcy Admin        Debtor      U.S. Trustee/Bankruptcy Admin
                                      Creditor    ✔
                                                                 Other
✔
                                           Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

ACTION FOR APPROVAL OF SALE OF PROPERTY OF ESTATE AND OF CO-OWNER


                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
 11-Recovery of money/property - §542 turnover of property                       61-Dischargeability - §523(a)(5), domestic support
 12-Recovery of money/property - §547 preference                                 68-Dischargeability - §523(a)(6), willful and malicious injury
 13-Recovery of money/property - §548 fraudulent transfer                        63-Dischargeability - §523(a)(8), student loan
 14-Recovery of money/property - other                                           64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
 21-Validity, priority or extent of lien or other interest in property           65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief


   FRBP 7001(3) – Approval of Sale of Property
 ✔ 31-Approval of sale of property of estate and of a co-owner - §363(h)          71-Injunctive relief – imposition of stay
                                                                                  72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge
 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(8) Subordination of Claim or Interest
                                                                                 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                              
 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

      actual fraud                                                            Other
 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny  SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                   (continued next column)                                     02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
Check if this case involves a substantive issue of state law                  Check if this is asserted to be a class action under FRCP 23
  trial is demanded in complaint                                Demand $
Other Relief Sought
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                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF PUERTO RICO

IN RE:                                                        CASE NO. 16-04733 EAG

HAYDEE FRANQUI SANCHEZ                                        CHAPTER 7

DEBTOR
                                                              ADV. NO.
WIGBERTO LUGO MENDER, Trustee
For The Estate of Haydee Franqui Sanchez                      COMPLAINT TO OBTAIN
                                                              COURT APPROVAL FOR THE
PLAINTIFF                                                     SALE OF CO-OWNED
                                                              PROPERTY OF THE ESTATE
v.

THE ESTATE OF MANUEL MONSEGUR                                 JUDGMENT ON
SANABRIA     CONSTITUTED      ALVARO                          CANCELLATION OF
EMMANUEL    MONSEGUR    FRANQUI  AND                          MORTGAGE NOTE
MANUEL MONSEGUR ROCHE AND IVAN
MONSEGUR ROCHE AND MARITZA MONSEGUR
                                                              DECLARATORY JUDGMENT
ROCHE AND MANUEL ALBERTO MONSEGUR
GONZALEZ AS POTENTIAL HEIRS; ESSO
STANDARD OIL COMPANY; JOHN DOE AS
PARTY HOLDING AN INTEREST IN E.L.
EQUIPMENT LEASING, INC.

DEFENDANTS



                                         COMPLAINT
TO THE HONORABLE COURT:

         COMES NOW, Wigberto Lugo Mender as trustee for the Estate of Haydee Franqui

Sanchez, appearing as plaintiff and as attorney for this estate, who alleges, states and requests

relief as follows:

                              JURISDICTION AND VENUE

1.       This is a core proceeding under 11 U.S.C. § 105, § 363(h)(i)(j), § 541 (a), \§ 726 (c) and

Bankruptcy Rules 2002, 6004, 7001(3) and Local Rule 6004-1 to obtain Court approval for the
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sale of both the interest of the estate and of a co-owner’s interest on the property with the

distribution of all proceeds on this sale to be effectuated to the creditors of the bankruptcy estate.

2.     Further, this is a core proceeding under FRBP 7001 (3) & (9) and 11 U.S.C. § 541, for a

declaratory judgement to determine the validity and/or extent of a lien.

3.     This Honorable Court has jurisdiction over this case pursuant to 28 U.S.C. § 157

(b)(2)(N) and 28 U.S.C. 1334.

                                            PARTIES

4.     Plaintiff, Wigberto Lugo Mender is the duly appointed Chapter 7 Trustee for the Estate of

Haydee Franqui Sanchez. The Chapter 7 Trustee has standing to appear as plaintiff pursuant to

11 U.S.C. §323. Further, the Debtor Haydee Franqui Sanchez was the wife of Manuel Monsegur

Sanabria and a member of his probate estate at the time of his passing on October 17, 2004.

5.     Defendant Alvaro Emmanuel Monsegur Franqui, who to the best of our knowledge, is of

legal age, not an incompetent person, resident of Puerto Rico, son of Manuel Monsegur Sanabria

and a member of his probate estate at the time of his passing on October 17, 2004.

6.     Defendant, Manuel Monsegur Roche, who to the best of our knowledge, is of legal age,

not an incompetent person, resident of Puerto Rico, son of Manuel Monsegur Sanabria and a

member of his probate estate at the time of his passing on October 17, 2004.

7.     Defendant, Ivan Monsegur Roche, who to the best of our knowledge, is of legal age, not

an incompetent person, resident of Puerto Rico, son of Manuel Monsegur Sanabria and a

member of his probate estate at the time of his passing on October 17, 2004.

8.     Defendant, Maritza Monsegur Roche, who to the best of our knowledge, is of legal age,

not an incompetent person, resident of Puerto Rico, son of Manuel Monsegur Sanabria and a

member of his probate estate at the time of his passing on October 17, 2004.
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9.     Defendant, Manuel Alberto Monsegur Gonzalez, who to the best of our knowledge, is of

legal age, not an incompetent person, resident of Puerto Rico, son of Manuel Monsegur Sanabria

and a member of his probate estate at the time of his passing on October 17, 2004.

10.    Defendant, Esso Standard Oil Company (Puerto Rico), who to the best of Plaintiff’s

knowledge and belief, is a for profit corporation created pursuant to the laws of the

Commonwealth of Puerto Rico with Id. #1084 at the Puerto Rico State Department and with

address of Oriental Center, Suite P1, 254, Muñoz Rivera Avenue, San Juan, PR, 00918. This

party is being named in this complaint as a potential holder of a recorded lease agreement in

certain property of the Estate.

11.    Defendant, John Doe is an unknown party in interest as potential stockholder, creditor

and/or note holder on behalf of E.L. Equipment Leasing, Inc., who to the best of Plaintiff’s

knowledge and belief, is a for profit corporation created pursuant to the laws of the

Commonwealth of Puerto Rico with Id. #95329 at the Puerto Rico State Department now

dissolved and no longer with legal personal identity. This party is being named in this complaint

as a potential holder of an interest against the corporation which was the last know bearer of the

note which the Plaintiff seeks cancellation.

12.    John Doe is included in this action since it represents any unknown person or entity that

may be the current bearer of a mortgage note or an interest encumbering the subject property

pertaining to this bankruptcy estate.

                                        ALLEGATIONS

13.    Debtor, Haydee Franqui Sanchez, filed the related bankruptcy petition as a voluntary

Chapter 7 case on June 14, 2016. On June 15, 2016, the Plaintiff was appointed Chapter 7

Trustee of the Estate of Haydee Franqui Sanchez.
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14.      Debtor and the deceased Manuel Monsegur Sanabria were married under a conjugal

partnership until his passing on October 17, 2004.

15.      As per the records of the Property Register, the Debtor and Manuel Monsegur Sanabria

were co-owners of several real properties, among which are the following as further described in

Spanish:

      “FINCA #7581, inscrita al folio 88 del tomo 252 de San German, Sección de San German,
      inscripción 1ra.

         DESCRIPCIÓN:

         SE COMPONE DE DOS (2) PORCIONES QUE SE DESCRIBE-------------------------------

                  “Se compone de dos porciones que se describen a continuación:

                  URBANA: Solar radicado en el Barrio Guamá del término municipal de San
                  German, Puerto Rico, con una cabida de 1437.5111 m/c equivalentes a 0.3658
                  cuerdas. Colinda por el NORTE, en 28.172 metros con terrenos propiedad de
                  Francisco Rivera; por el SUR, en 26.992 metros con la Carretera Estatal # 2; por
                  el ESTE, en 43.81 metros con el solar “A” segregado y en 6.374, metros con el
                  solar “B” dedicado a uso público; y por el OESTE, en 55.275 metros con
                  terrenos propiedad de Clotilde Porrata. Este es el remanente de la porción uno
                  (1).

                  URBANA: Solar radicado en el Barrio Guamá del término municipal de San
                  German, Puerto Rico, con una cabida de tres mil sesenta y cuatro puntos dos mil
                  setecientos ochenta y tres metros cuadrados, equivalentes a 0.7796 cuerdas. En
                  lindes por el NORTE, en ciento cuarenta y nueve punto cuatrocientos dieciséis
                  metros con terrenos propiedad de Francisco Rivera; por el SUR, en cuatro
                  alineaciones continuas que suman ciento cuarenta y siete punto cero setenta y
                  nueve metros con la carretera estatal número 2; por el ESTE, en un punto con la
                  carretera estatal número dos; y por el Oeste, en treinta y tres punto trece metros
                  con el solar “A” segregado y en seis punto doscientos treinta y siete metros con
                  el solar “B” de uso público.”


16.      Upon the passing of Manuel Monsegur Sanabria, the debtor and all his sons became part

and co-owners and parties in interest of the probate estate which had an interest on the 50% of

the properties.
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17.     However, on May 2007, all the members of the probate estate reached a liquidation and

distribution agreement in which the interest of the probate estate in the properties detailed on #15

(A)-(D) were adjudicated and/or transferred for the benefit of the debtor and her son Alvaro

Emmanuel Monsegur Franqui.

18.     Accordingly, the at the moment of the filing of the bankruptcy petition debtor, and now

the Estate, have individually a full 50% percent interest over the property plus, participates, owns

and shares the other 50% equally with Alvaro Emmanuel Monsegur Franqui.

19.     Other, Defendants named in this complaint are included as potential claimants or parties

in interest.

20.     Plaintiff, as the Chapter 7 Trustee, intends to sell these real properties pursuant the

provisions of 11 U.S.C. §363 (f) and (h).

21.     Plaintiff seeks to sell the property listed above in order to distribute all resulting proceeds

to the creditors of this Estate. The Plaintiff states that to obtain benefit from the sale of this real

property, which must be sold itself and not the percentage of interest held by the Estate.

22.     That any lien reflected as encumbering the properties are either extinct due to the passage

of time or none-enforceable inasmuch there is no debt to secure at all. The reflected liens that

appear to encumber the property #7581 in Spanish are as follows:

               a. ARRENDAMIENTO: A favor de Esso Standard Oil Company (Puerto Rico)

                   para la construcción de dicha estación de servicio de gasolina, por un término

                   de 20 años a contarse desde el 1 de septiembre de 1970, con opción por

                   prorroga por 5 años adicionales, y por canon de $160.00 mensuales durante

                   los primeros 10 años; $240.00 mensuales durante los segundos 10 años y de

                   $300.00 mensuales en caso de que se utilice la prórroga. Según escritura #91
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                     otorgada en Guaynabo, el 20 de agosto de 1970 ante Carlos R. Ríos, inscrita

                     en el folio 90 del tomo 252 de San Germán, inscripción 3ra.

                     b. HIPOTECA: Por $115,000.00 con intereses al 12-1/2% annual, en garantía

                     de un pagaré a favor de E.L. Equipment Leasing, Inc., en escritura #420,

                     otorgada en San Juan, el 30 de diciembre de 1999, ante Carlos Castillo Matos,

                     inscrita al folio 30 del tomo 479 de San Germán, inscripción 7ma.

23.      The Chapter 7 Trustee, as Plaintiff, purports the following:

             a) That the properties are owned by the debtor and her son Alvaro Emmanuel

                 Monsegur Franqui;

             b) Partition of the property between the estate and the co-owner is impracticable,

             c) Sale of the estate’s undivided interest would bring significantly less for the estate

                 than a sale of the entire properties,

             d) The benefits of the estate outweigh the detriment, if any, to the co-owners and,

             e) The properties involved are not used in the production, transmission, or

                 distributions of electric energy or natural gas sold for heat, power, or light.

                                 PRAYER FOR RELIEF

         WHEREFORE, it is requested from this Honorable Court for relief as follows:

      1) Issue judgment declaring that the properties are owned by debtor and her son Alvaro

         Emmanuel Monsegur Franqui.

      2) Issue judgment allowing the trustee to sell the properties of the estate free and clear of co-

         ownership interest, subject to 11 U.S.C. §363 (h) (i) (j);
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   3) Issue and Order stating that any lien reflected as encumbering the properties are either

      extinct due to the passage of time or none-enforceable inasmuch there is no debt to secure

      at all

   4) Issue judgment allowing the Trustee to receive and distribute to creditors of the

      bankruptcy estate all proceeds on the sale of this property pursuant to the provisions of 11

      U.S.C. §541 (a) and 11 U.S.C. §726 (c).

   5) Order the defendant to reimburse the estate for the necessary costs and expenses of this

      adversary proceeding estimated in $500 dollars and attorney’s fees incurred in

      prosecuting this action estimated in $2,000 dollars.

      RESPECTFULLY SUBMITTED

      In San Juan, Puerto Rico this May 31st, 2018.



                                                   Lugo Mender Group, LLC
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